Case 1:25-cv-00091-LM   Document 34-40   Filed 03/21/25   Page 1 of 3




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3/19/25, 2:20 PM       Case  1:25-cv-00091-LM
                        'End DEI'                                Document
                                  portal is 'culmination' of her efforts, says M4L34-40        Filed- 03-05-2025
                                                                                   co-founder Justice 03/21/25: MomsPage    2 ofnews
                                                                                                                     for Liberty  3 for Moms for Liber…
                                  NATIONAL HOME (HTTPS://MOMSFORLIBERTY.ORG)                             LOGIN (/LOGIN/)

                                   STORE (HTTPS://MOMSFORLIBERTY.ORG/STORE/)                        ESPAÑOL (/ESPANOL/)




             'End DEI' portal is 'culmination' of her efforts, says
                           M4L co-founder Justice
       For Moms for Liberty (https://www.momsforliberty.org/) co-founder Tiffany Justice, the U.S. Department of
       Education's (https://www.ed.gov/) creation of an "End DEI" public portal, where users can submit "reports of
       discrimination based on race of sex in public schools," is the "culmination" of her efforts to advance
       conservative parental values in the classroom.

       Opponents of the online effort, called a "snitch line" by some, say it was created by conservatives to stamp out
       diversity, inclusion and equity efforts.

       "Every child — no matter their state, neighborhood or background — deserves access to a world-class public
       education that inspires, empowers and prepares them for success," said Andrew Spar, president of Florida
       Education Association, the Sunshine State’s largest association of professional employees, in a statement sent
       to FLORIDA TODAY.

       "This means fully supporting our teachers and education staff professionals with fair pay, affordable
       healthcare and a secure path to retirement — enabling them to do what they love without political
       interference. It also means providing students with an honest education that reflects their experiences and
       history."

       Justice, however, says the portal, which launched Feb. 27, is a way for the Department of Education to see the
       "breadth of the indoctrination" taking place in public schools.

       "It's a betrayal what's been happening in the schools," Justice said. "This DOE portal is going to really give the
       department an opportunity to see, again, the landscape, what's really happening on the ground. They're going
       to be able to see fact patterns, and they're going to be able to do what they call directed investigations."

       Justice, who helped on the project, said the "seed that was planted with Moms for Liberty has grown
       awareness all over the country" regarding issues Moms for Liberty and other conservative parents have
       pushed back on. But ultimately, she credits President Donald Trump and former wrestling executive Linda
       McMahon, who was confirmed Monday as secretary of education, with the creation of the portal.

       READ THE FULL STORY HERE (https://www.floridatoday.com/story/news/2025/03/05/moms-for-libertys-
       justice-played-role-in-dept-of-eds-end-dei-portal/81167730007/)

                 Print (/news/print-view/end-dei-portal-is-culmination-of-her-efforts-says-m4l-cofounder-justice/)
       Group(s): Moms for Liberty
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       Author: Finch Walker
       Website: https://www.floridatoday.com/story/news/2025/03/05/moms-for-libertys-justice-played-role-in-
       dept-of-eds-end-dei-portal/81167730007/ (https://www.floridatoday.com/story/news/2025/03/05/moms-
       for-libertys-justice-played-role-in-dept-of-eds-end-dei-portal/81167730007/)
       Tag(s): NATIONAL (/news/?q=tag:national)


https://portal.momsforliberty.org/news/end-dei-portal-is-culmination-of-her-efforts-says-m4l-cofounder-justice/                                     1/2
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                      empowering parents to defend their parental rights at all levels of government.

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